Andrew Erickson, Alaska Bar No. 1605049
Matt Mead, Alaska Bar No. 0711095
LANDYE BENNETT BLUMSTEIN LLP
701 West Eighth Avenue, Suite 1100
Anchorage, AK 99501
(907) 276-5152
andye@lbblawyers.com
mattm@lbblawyers.com

Attorneys for Defendant Joseph Delia


             IN THE UNITED STATES DISTRICT COURT

                   FOR THE DISTRICT OF ALASKA


MARIA M. GIVENS, as Personal           )
Representative of the Estate of        )
Raymond C. Givens,                     )
                                       )
           Plaintiff,                  )
                                       )
      v.                               )
                                       )
JOSEPH DELIA,                          ) Case No. 3:23-cv-00121-HRH
                                       )
           Defendant.                  )
                                       )

    DEFENDANT’S UNOPPOSED MOTION FOR LEAVE TO FILE
                 EXHIBITS UNDER SEAL

     Pursuant to District of Alaska Local Civil Rule 7.3(f) and the Parties’

Stipulation and Agreement Regarding Documents Filed Under Seal (Docket



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No. 81), the Defendant Joseph Delia respectfully moves for leave to file under

seal Exhibits B, G, H, and I, which are exhibits in support of the Defendant’s

Motion for Summary Judgment. Pursuant to the Stipulation and Agreement

(Docket No. 81 at 4), the undersigned counsel conferred with counsel for the

Plaintiff, who indicated that the Plaintiff does not oppose this motion.

      This motion is supported by the accompanying Sealed Declaration of An-

drew Erickson, which includes Exhibits B, G, H, and I.

      Respectfully submitted.

DATED: June 6, 2025               LANDYE BENNETT BLUMSTEIN LLP

                                  /s/ Andrew Erickson
                                  ________________________________________
                                  Andrew Erickson, Alaska Bar No. 1605049
                                  Matt Mead, Alaska Bar No. 0711095

                                  Attorneys for Defendant Joseph Delia




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                      CERTIFICATE OF SERVICE

     I hereby certify that on June 6, 2025, a copy of the foregoing was served

by electronic means on all counsel of record by the Court’s CM/ECF system.



                                   /s/ Andrew Erickson
                                   ________________________
                                   Andrew Erickson




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